          Case:17-07343-MCF13 Doc#:31 Filed:05/19/18 Entered:05/20/18 00:52:00                                              Desc:
                             Imaged Certificate of Notice Page 1 of 2
                                               United States Bankruptcy Court
                                                  District of Puerto Rico
In re:                                                                                                     Case No. 17-07343-MCF
JOSE ENRIQUE SANTANA RAMOS                                                                                 Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0104-3                  User: machargoa                    Page 1 of 1                          Date Rcvd: May 17, 2018
                                      Form ID: odtc                      Total Noticed: 1

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 19, 2018.
db             +JOSE ENRIQUE SANTANA RAMOS,   HC 33 BOX 3389,   DORADO, PR 00646-9747

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 19, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 17, 2018 at the address(es) listed below:
              ALEJANDRO OLIVERAS RIVERA     aorecf@ch13sju.com
              ALEJANDRO OLIVERAS RIVERA (ENO)     on behalf of Trustee ALEJANDRO OLIVERAS RIVERA
               aorecf@ch13sju.com
              JUAN A CUYAR COBB   on behalf of Creditor    SCOTIABANK DE PUERTO RICO jcc@fccplawpr.com,
               jcc_fccplaw@yahoo.com
              MONSITA LECAROZ ARRIBAS     ustpregion21.hr.ecf@usdoj.gov
              ROBERTO FIGUEROA CARRASQUILLO     on behalf of Debtor JOSE ENRIQUE SANTANA RAMOS
               cmecf@rfclawpr.com, G9942@notify.cincompass.com
              ROBERTO ROMAN VALENTIN    romanchpt7@gmail.com, rroman@ecf.epiqsystems.com
              ROBERTO ROMAN VALENTIN    on behalf of Trustee ROBERTO ROMAN VALENTIN romanchpt7@gmail.com,
               rroman@ecf.epiqsystems.com
                                                                                             TOTAL: 7
    Case:17-07343-MCF13 Doc#:31 Filed:05/19/18 Entered:05/20/18 00:52:00                                 Desc:
                       Imaged Certificate of Notice Page 2 of 2
                              IN THE UNITED STATES BANKRUPTCY COURT
                                          District of Puerto Rico



IN RE:                                                      Case No. 17−07343 MCF

JOSE ENRIQUE SANTANA RAMOS
                                                            Chapter 13

xxx−xx−1654

                                                            FILED & ENTERED ON 5/17/18
                        Debtor(s)



                       ORDER DISCHARGING TRUSTEE AND RELEASING HIS BOND

The instant case was converted to Chapter 13 on 4/25/18. The Chapter 7 Trustee has rendered a final report of his
administration on 4/26/18. Accordingly, it is now

ORDERED that the Chapter 7 Trustee be and is hereby discharged, that his bond be cancelled and the surety thereon
released from further liability thereunder.
IT IS SO ORDERED.
In San Juan, Puerto Rico, this Thursday, May 17, 2018 .
